     Case 1:15-cr-00045-LJO-BAM Document 190 Filed 12/14/17 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorneys for Defendant
     MARTIN BAHRAMI
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                  )   Case No. 1:15-cr-0045-LJO
                                                 )
12                     Plaintiff,                )   STIPULATION TO CONTINUE
                                                 )   SENTENCING; ORDER THEREON
13    vs.                                        )
                                                 )   Date: June 18, 2018
14    MARTIN BAHRAMI,                            )   Time: 8:30 a.m.
                                                 )   Judge: Hon. Lawrence J. O’Neill
15                    Defendant.                 )
                                                 )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, through their
18   respective attorneys of record, Assistant United States Attorney, CHRISTPHER BAKER,
19   counsel for plaintiff and Assistant Federal Defender, MEGAN T. HOPKINS, counsel for
20   defendant, that the sentencing hearing set for January 16, 2018, be continued to
21   June 18, 2018 at 8:30 a.m.
22          Sentencing in this matter has been trailing the trial schedule for co-defendants since Mr.
23   Bahrami’s change of plea on November 16, 2015. The trial schedule for the co-defendants was
24   recently continued out to January 29, 2019, and therefore the parties prefer to continue
25   sentencing to a date in closer proximity to trial. Defense counsel will utilize the additional time
26   for further investigation and corroboration of mitigating circumstances relevant to a sentencing
27   determination in this case.
28   ///
     Case 1:15-cr-00045-LJO-BAM Document 190 Filed 12/14/17 Page 2 of 2


 1                                                   Respectfully submitted,
 2                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
 3
 4   DATED: December 14, 2017                        /s/ Megan T. Hopkins
                                                     Megan T. Hopkins
 5                                                   Assistant Federal Defender
                                                     Attorney for Defendant
 6                                                   Martin Bahrami
 7
                                                     PHILLIP A. TALBERT
 8                                                   United States Attorney
 9
10   DATED: December 14, 2017                        /s/ Christopher Baker
                                                     CHRISTOPHER BAKER
11                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff
12
13
                                              ORDER
14
15   IT IS SO ORDERED.
16
         Dated:         December 14, 2017             /s/ Lawrence J. O’Neill _____
17                                            UNITED STATES CHIEF DISTRICT JUDGE

18
19
20
21
22
23
24
25
26
27
28


      Bahrami / Stip to Continue Sentencing    -2-
